Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 1 of 32
Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 2 of 32
Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 3 of 32
Electronically Filed - Jackson - Independence - September 30, 2020 - 03:45 PM




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Electronically Filed - Jackson - Independence - September 30, 2020 - 03:45 PM




                                                                                Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 5 of 32
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                               Case Number: 2016-CV12383
 CORY LEE ATKINS
 Plaintiff/Petitioner:                                            Plaintiff’s/Petitioner’s Attorney/Address
 DONALD DAVIS                                                     ADAM ROSS MOORE
                                                                  1600 GENESSEE ST STE 853
                                 vs.                              KANSAS CITY, MO 64102
 Defendant/Respondent:                                            Court Address:
 AMERICAN FAMILY INSURANCE COMPANY                                308 W Kansas
 Nature of Suit:                                                  INDEPENDENCE, MO 64050
 CC Breach of Contract                                                                                                               (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: AMERICAN FAMILY INSURANCE COMPANY
                                      Alias:
  DIRECTOR OF DEPARTMENT
  OF INSURANCE
  301 WEST HIGH DRIVE SUITE 530
  JEFFERSON CITY, MO 65101
         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    23-SEP-2020                               _________________________________________
                                                        Date                                                   Clerk
        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
          delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
            _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
            permanently resides with the Defendant/Respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                            Date                                      Notary Public
      Sheriff’s Fees
      Summons                      $
      Non Est                      $
      Sheriff’s Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                    (______ miles @ $.______ per mile)
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.




OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 20-SMCC-8503 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                      Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20                                   Page 6 of 32
                                                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org → Electronic Filing Information → Required Documents for Service – eFiled cases →
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




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                                                                                                   6/2020
                                                                                          Electronically Filed - Jackson - Independence - September 22, 2020 - 04:04 PM
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                         AT INDEPENDENCE, MISSOURI

DONALD DAVIS                             )
8824 Hunter Ave.                         )
Kansas City, MO 64138                    )
                                         )
                       Plaintiff,        )
                                         )    Case No. 2016-CV-12383
v.                                       )
                                         )    Division 17
AMERICAN FAMILY INSURANCE                )
COMPANY                                  )
Serve at:                                )
Director                                 )
Department of Insurance                  )
301 W. High Street, Suite 530            )
Jefferson City, Missouri 65101           )
                                         )
Defendant.                               )

           MOTION FOR APPOINTMENT OF PRIVATE PROCESS SERVER

       COMES NOW Plaintiff Donald Davis, by and through counsel, and pursuant to Local
Rule 4.9 of Jackson County Court Rules, hereby moves for the appointment of HPS Process
Service & Investigations, Inc.:

     Will Acree             PPS20-0275            Robert Blixt         PPS20-0289
     Jan Adams              PPS20-0276            Brent Bohnhoff       PPS20-0014
     Roger Adams            PPS20-0277            Ann Bollino          PPS20-0291
     Randy Adkins           PPS20-0225            Donnie C Briley      PPS20-0292
     Bobby Ali              PPS20-0278            Kathy Broom          PPS20-0293
     Gregory Allen          PPS20-0279            Kenneth Brown        PPS20-0294
     Victor Aponte          PPS20-0280            Douglas S Brower     PPS20-0580
     Brandon                                      Hester Bryant        PPS20-0019
                            PPS20-0281
     Aschenbrenner                                Nicholas Bull        PPS20-0020
     Julia Ascorra          PPS20-0282            James F Burke        PPS20-0296
     Teresa Bailly          PPS20-0283            Randy Burrow         PPS20-0021
     Joseph Baska           PPS20-0284            Gory Burt            PPS20-0022
     Robert Bassler         PPS20-0578            Maurice Burton       PPS20-0298
     Carrington Bell        PPS20-0012            Steve Butcher        PPS20-0581
     George Bell            PPS20-0286            William Caputo       PPS20-0299
     Carlos Bialet          PPS20-0579            Kyle Carter          PPS20-0023
     Dianna Blea            PPS20-0287            Charles Casey        PPS20-0300
     Richard J Blea         PPS20-0288            George Castillo      PPS20-0301



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                                                                             Electronically Filed - Jackson - Independence - September 22, 2020 - 04:04 PM
Fidel A Cervantes      PPS20-0302        Chris Fowler           PPS20-0338
Trenia Cherry          PPS20-0303        James Frago            PPS20-0038
Joyce Clemmons         PPS20-0304        John Frago             PPS20-0039
John Clor              PPS20-0305        Kelsey Garrett         PPS20-0582
Kathleen Clor          PPS20-0306        Thomas Garrett         PPS20-0339
Chad Compton           PPS20-0307        Andrew Garza           PPS20-0041
Kenneth V Condrey      PPS20-0308        Charles Gay            PPS20-0340
Sharon R Condrey       PPS20-0309        Richard Gerber         PPS20-0341
Theodore Cordasco      PPS20-0310        Louis Gerrick          PPS20-0342
Cesar Corral           PPS20-0311        Paul Gizel             PPS20-0343
George H Covert        PPS20-0312        Ronda Godard           PPS20-0344
Dennis Dahlberg        PPS20-0026        Adam Golden            PPS20-0345
Mary Dahlberg          PPS20-0027        Bradley Gordon         PPS20-0042
Patricia Dambach-                        Tom Gorgone            PPS20-0044
                       PPS20-0313
Cirko                                    Paul O Grimes          PPS20-0348
Bert Daniels, Jr.      PPS20-0028        Charles Gunning        PPS20-0046
Alterck Davenport      PPS20-0314        Aloysivs Guy, Sr.      PPS20-0583
Richard Davis          PPS20-0029        David Hahn             PPS20-0584
Duane D Day            PPS20-0315        Eric Hahn              PPS20-0585
Gerald R Deadwyles     PPS20-0316        Stefanie Hahn          PPS20-0586
Bryce Dearborn         PPS20-0317        Darnell Hamilton       PPS20-0143
Robert DeLacy, Jr.     PPS20-0318        Kimberly Hamilton      PPS20-0351
Robert E DeLacy, III   PPS20-0319        Natalie Hawks          PPS20-0050
Kathleen Dnunno        PPS20-0320        Larry Haynes           PPS20-0352
Marrissa Doan          PPS20-0034        Douglas Hays           PPS20-0051
Claudia Dohn           PPS20-0321        Grace Hazell           PPS20-0353
Dale Dorning           PPS20-0322        Richard Heimerich, Jr. PPS20-0354
Valentina Dorning      PPS20-0323        Stephen Heitz          PPS20-0052
Catherine Drake        PPS20-0324        Charles Helms          PPS20-0356
Alex Duaine            PPS20-0325        Austen Hendrickson PPS20-0357
Roland Duff            PPS20-0326        Jonathan Hennings      PPS20-0358
Rochelle D Earthrise   PPS20-0327        Jesse J Hernandez      PPS20-0359
Daniel Eberle          PPS20-0328        Michael Hibler         PPS20-0360
Shawn Edwards          PPS20-0035        Anthonio Hightower PPS20-0361
Jessica Ellison        PPS20-0330        Cherrod T Hindsman PPS20-0362
Abel Emiru             PPS20-0331        James Hise             PPS20-0054
Donald C Eskra, Jr.    PPS20-0332        Gary F Hodges          PPS20-0363
Leticia Estrada        PPS20-0333        Alex Holland           PPS20-0057
David S Felter         PPS20-0334        Leonard Horseman       PPS20-0364
William Ferrell        PPS20-0037        Ulonda Howard          PPS20-0365
Robert Finley          PPS20-0335        Martin Hueckel         PPS20-0366
Stephen Folcher        PPS20-0336        Damion Hugher          PPS20-0367
Ryan D Fortune         PPS20-0337        William Humble         PPS20-0590



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                                                                            Electronically Filed - Jackson - Independence - September 22, 2020 - 04:04 PM
Mary Hurley            PPS20-0058        Kellie A. Meyer       PPS20-0673
George Illidge         PPS20-0368        Matthew Millhollin    PPS20-0081
Frank James            PPS20-0369        Carla M Monehain      PPS20-0400
Matthew Jankowski      PPS20-0370        Carlos Moreno         PPS20-0401
Betty Johnson          PPS20-0059        Michael S Morrison    PPS20-0402
Edward Johnson         PPS20-0060        Zachary P. Mueller    PPS20-0596
James Johnson          PPS20-0061        Kelly Murski          PPS20-0403
Jordan Johnson         PPS20-0372        Andrew Myers          PPS20-0087
Justin L Johnson       PPS20-0373        Frederick Myers       PPS20-0088
Randy Johnson          PPS20-0374        James Myers           PPS20-0089
Samuel Johnson         PPS20-0375        Stephanie Myers       PPS20-0090
Haile Kahssu           PPS20-0376        Paul Nardizzi         PPS20-0404
Kenneth Kearney        PPS20-0377        Wendy Neff            PPS20-0405
Michael Keating        PPS20-0378        Christopher New       PPS20-0091
Christopher Keilbart   PPS20-0591        Jillian Newkirk       PPS20-0406
Elizabeth A Kidd       PPS20-0379        Jeremy Nicholas       PPS20-0092
Donna Jo King          PPS20-0371        Michael Noble         PPS20-0093
Kenneth Klewicki       PPS20-0380        Michael C Nolon       PPS20-0409
George Kotsiras        PPS20-0592        Colter Norris         PPS20-0410
Wyman Kroft            PPS20-0381        Dennis Norris         PPS20-0411
Jo Ann Lane            PPS20-0382        Kody Norris           PPS20-0412
Linda Langville        PPS20-0593        Trinity Olson         PPS20-0413
Eric B Layton          PPS20-0383        Craig Palmer          PPS20-0414
Kristie Lewis          PPS20-0384        Cynthia Paris         PPS20-0415
John D Lichtenegger    PPS20-0385        Douglas W Patterson   PPS20-0416
Bert Lott              PPS20-0386        Antonio Perez         PPS20-0417
Robert Lutren          PPS20-0387        Jaron Perkins         PPS20-0418
Daniel Maglothin       PPS20-0069        Anha Pham             PPS20-0419
Matthews J Manlich     PPS20-0388        Thai Pham             PPS20-0420
Robert Manning         PPS20-0389        Bonnie Phillippi      PPS20-0597
Deborah Martin         PPS20-0072        Gregory Piazza        PPS20-0421
Michael Martin         PPS20-0073        Vincent A Piazza      PPS20-0422
Ryan Martin            PPS20-0193        Brian T Pierce        PPS20-0423
Susie Martin           PPS20-0390        Timothy Pinney        PPS20-0424
Thomas Matthews        PPS20-0391        Joshua Pitts          PPS20-0425
Casey McKee            PPS20-0076        Craig Podgurski       PPS20-0598
Michael McMahon        PPS20-0392        Rocellious Pope       PPS20-0426
Michael Meade          PPS20-0393        Nancy A Porter        PPS20-0427
Michael Meador         PPS20-0077        Andre Powell          PPS20-0428
Kenny Medlin           PPS20-0078        Benjamin Purses       PPS20-0429
Arsalan Memon          PPS20-0396        Richard Ramirez       PPS20-0430
Eric Mendenhall        PPS20-0397        Charles Reardon       PPS20-0431
Jenna Mendoza          PPS20-0398        Derek L Reddick       PPS20-0432



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                                                                             Electronically Filed - Jackson - Independence - September 22, 2020 - 04:04 PM
Angela Reed            PPS20-0433        Sonja Stone            PPS20-0118
Christopher Reed       PPS20-0434        Steven Stosur          PPS20-0465
Edward Reed            PPS20-0435        Robert T Stover        PPS20-0006
Betty G Rice           PPS20-0436        Jeanie Straessler      PPS20-0466
Karen L Rice           PPS20-0437        Chance Strawser        PPS20-0467
Cheryl Richey          PPS20-0439        David Taliaferro       PPS20-0119
Terri Richards         PPS20-0106        Ramona Rose
                                                                PPS20-0468
Debra Rios             PPS20-0440        Talvacchio
David M Roberts        PPS20-0206        Katherina M Tan        PPS20-0469
Patricia Roberts       PPS20-0207        Berhane Tassaw         PPS20-0470
Jeroy Robinson         PPS20-0441        Michael Taylor         PPS20-0120
Sammie Robinson        PPS20-0108        Courtney S. Thiemann   PPS20-0601
Adrienne Rodriguez     PPS20-0442        Robert Hayes Thomas    PPS20-0602
Gabriel Rodriguez      PPS20-0443        Walter Thomas          PPS20-0603
Mateo F Rodriguez      PPS20-0444        William Wyatt
                                                                PPS20-0604
Richard C Ross         PPS20-0445        Thomas
Melissa Ruiz           PPS20-0446        Christina Tiffany      PPS20-0471
Antonio Ruque          PPS20-0447        Stephen M Troutz       PPS20-0472
Geena Christine Rupp   PPS20-0599        Clinton Turpen         PPS20-0473
Edna Russell           PPS20-0110        Henry J Valladares
                                                                PPS20-0474
Lee H Russell          PPS20-0448        Cruz
Mark A Russell         PPS20-0449        Margarita Vasquez      PPS20-0475
John Sadler            PPS20-0450        Robert E Vick, II      PPS20-0476
Ligno Sanchez          PPS20-0451        Bradley Votaw          PPS20-0477
Virginia Saxon-Ford    PPS20-0452        Joseph T Wachowski     PPS20-0478
Greg Schermerhorn      PPS20-0453        Ambiko Wallace         PPS20-0479
Brenda Schiwitz        PPS20-0111        Vance M Warren, Sr.    PPS20-0480
Michael Schuller       PPS20-0454        Barbara West           PPS20-0481
Nathaniel Scott        PPS20-0455        Pamela K Wheetley      PPS20-0007
Grant Selvey           PPS20-0600        Jennifer White         PPS20-0482
Quratulain Shoukat     PPS20-0456        Gregory Willing        PPS20-0130
Jeremy Small           PPS20-0457        Conni Wilson           PPS20-0131
Monica Smith           PPS20-0458        Deborah A Wilson       PPS20-0484
Anthony Spada          PPS20-0459        Jerry Wilson           PPS20-0132
Melissa Spencer        PPS20-0460        Mitchell Wirth         PPS20-0485
Jamie Stallo           PPS20-0461        Debra Woodhouse        PPS20-0133
Marc A Starks          PPS20-0462        Jerry Wooten           PPS20-0487
Barbara Steil          PPS20-0463        Kimary Ann Zappia      PPS20-0606
Kelvin Stinyard        PPS20-0464
Randy Stone            PPS20-0117




   Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 11 of 32
                                                                                                       Electronically Filed - Jackson - Independence - September 22, 2020 - 04:04 PM
as private process servers in the above-captioned matter. In support of said motion, Plaintiff
states that the above-named individuals are on the Court’s list of approved process servers and
the information contained in their applications and affidavits on file is current and still correct.


                                               Respectfully submitted,

                                                /s/ Adam R. Moore
                                               Adam R. Moore Mo. Bar # 52395
                                               The Moore Law Firm LLC
                                               1600 Genessee, Suite 862
                                               Kansas City, MO 64102
                                               (816) 668-6911 (telephone)
                                               (816) 817-1259 (fax)
                                               adam@moorelawkc.com

                                               ATTORNEY FOR PLAINTIFF DONALD
                                               DAVIS


            ORDER FOR APPOINTMENT OF PRIVATE PROCESS SERVER

       It is hereby ordered that Plaintiff’s Motion for Appointment of Private Process Server is
sustained and the above named individuals are hereby appointed to serve process in the above
captioned matter.

DATE:               23-Sep-2020                        ______________________________




        Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 12 of 32
                                                                                          Electronically Filed - Jackson - Independence - September 22, 2020 - 04:04 PM
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                         AT INDEPENDENCE, MISSOURI

DONALD DAVIS                             )
8824 Hunter Ave.                         )
Kansas City, MO 64138                    )
                                         )
                       Plaintiff,        )
                                         )    Case No. 2016-CV-12383
v.                                       )
                                         )    Division 17
AMERICAN FAMILY INSURANCE                )
COMPANY                                  )
Serve at:                                )
Director                                 )
Department of Insurance                  )
301 W. High Street, Suite 530            )
Jefferson City, Missouri 65101           )
                                         )
Defendant.                               )

           MOTION FOR APPOINTMENT OF PRIVATE PROCESS SERVER

       COMES NOW Plaintiff Donald Davis, by and through counsel, and pursuant to Local
Rule 4.9 of Jackson County Court Rules, hereby moves for the appointment of HPS Process
Service & Investigations, Inc.:

     Will Acree             PPS20-0275            Robert Blixt         PPS20-0289
     Jan Adams              PPS20-0276            Brent Bohnhoff       PPS20-0014
     Roger Adams            PPS20-0277            Ann Bollino          PPS20-0291
     Randy Adkins           PPS20-0225            Donnie C Briley      PPS20-0292
     Bobby Ali              PPS20-0278            Kathy Broom          PPS20-0293
     Gregory Allen          PPS20-0279            Kenneth Brown        PPS20-0294
     Victor Aponte          PPS20-0280            Douglas S Brower     PPS20-0580
     Brandon                                      Hester Bryant        PPS20-0019
                            PPS20-0281
     Aschenbrenner                                Nicholas Bull        PPS20-0020
     Julia Ascorra          PPS20-0282            James F Burke        PPS20-0296
     Teresa Bailly          PPS20-0283            Randy Burrow         PPS20-0021
     Joseph Baska           PPS20-0284            Gory Burt            PPS20-0022
     Robert Bassler         PPS20-0578            Maurice Burton       PPS20-0298
     Carrington Bell        PPS20-0012            Steve Butcher        PPS20-0581
     George Bell            PPS20-0286            William Caputo       PPS20-0299
     Carlos Bialet          PPS20-0579            Kyle Carter          PPS20-0023
     Dianna Blea            PPS20-0287            Charles Casey        PPS20-0300
     Richard J Blea         PPS20-0288            George Castillo      PPS20-0301



        Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 13 of 32
                                                                             Electronically Filed - Jackson - Independence - September 22, 2020 - 04:04 PM
Fidel A Cervantes      PPS20-0302        Chris Fowler           PPS20-0338
Trenia Cherry          PPS20-0303        James Frago            PPS20-0038
Joyce Clemmons         PPS20-0304        John Frago             PPS20-0039
John Clor              PPS20-0305        Kelsey Garrett         PPS20-0582
Kathleen Clor          PPS20-0306        Thomas Garrett         PPS20-0339
Chad Compton           PPS20-0307        Andrew Garza           PPS20-0041
Kenneth V Condrey      PPS20-0308        Charles Gay            PPS20-0340
Sharon R Condrey       PPS20-0309        Richard Gerber         PPS20-0341
Theodore Cordasco      PPS20-0310        Louis Gerrick          PPS20-0342
Cesar Corral           PPS20-0311        Paul Gizel             PPS20-0343
George H Covert        PPS20-0312        Ronda Godard           PPS20-0344
Dennis Dahlberg        PPS20-0026        Adam Golden            PPS20-0345
Mary Dahlberg          PPS20-0027        Bradley Gordon         PPS20-0042
Patricia Dambach-                        Tom Gorgone            PPS20-0044
                       PPS20-0313
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Bert Daniels, Jr.      PPS20-0028        Charles Gunning        PPS20-0046
Alterck Davenport      PPS20-0314        Aloysivs Guy, Sr.      PPS20-0583
Richard Davis          PPS20-0029        David Hahn             PPS20-0584
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Gerald R Deadwyles     PPS20-0316        Stefanie Hahn          PPS20-0586
Bryce Dearborn         PPS20-0317        Darnell Hamilton       PPS20-0143
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Marrissa Doan          PPS20-0034        Douglas Hays           PPS20-0051
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Valentina Dorning      PPS20-0323        Stephen Heitz          PPS20-0052
Catherine Drake        PPS20-0324        Charles Helms          PPS20-0356
Alex Duaine            PPS20-0325        Austen Hendrickson PPS20-0357
Roland Duff            PPS20-0326        Jonathan Hennings      PPS20-0358
Rochelle D Earthrise   PPS20-0327        Jesse J Hernandez      PPS20-0359
Daniel Eberle          PPS20-0328        Michael Hibler         PPS20-0360
Shawn Edwards          PPS20-0035        Anthonio Hightower PPS20-0361
Jessica Ellison        PPS20-0330        Cherrod T Hindsman PPS20-0362
Abel Emiru             PPS20-0331        James Hise             PPS20-0054
Donald C Eskra, Jr.    PPS20-0332        Gary F Hodges          PPS20-0363
Leticia Estrada        PPS20-0333        Alex Holland           PPS20-0057
David S Felter         PPS20-0334        Leonard Horseman       PPS20-0364
William Ferrell        PPS20-0037        Ulonda Howard          PPS20-0365
Robert Finley          PPS20-0335        Martin Hueckel         PPS20-0366
Stephen Folcher        PPS20-0336        Damion Hugher          PPS20-0367
Ryan D Fortune         PPS20-0337        William Humble         PPS20-0590



   Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 14 of 32
                                                                            Electronically Filed - Jackson - Independence - September 22, 2020 - 04:04 PM
Mary Hurley            PPS20-0058        Kellie A. Meyer       PPS20-0673
George Illidge         PPS20-0368        Matthew Millhollin    PPS20-0081
Frank James            PPS20-0369        Carla M Monehain      PPS20-0400
Matthew Jankowski      PPS20-0370        Carlos Moreno         PPS20-0401
Betty Johnson          PPS20-0059        Michael S Morrison    PPS20-0402
Edward Johnson         PPS20-0060        Zachary P. Mueller    PPS20-0596
James Johnson          PPS20-0061        Kelly Murski          PPS20-0403
Jordan Johnson         PPS20-0372        Andrew Myers          PPS20-0087
Justin L Johnson       PPS20-0373        Frederick Myers       PPS20-0088
Randy Johnson          PPS20-0374        James Myers           PPS20-0089
Samuel Johnson         PPS20-0375        Stephanie Myers       PPS20-0090
Haile Kahssu           PPS20-0376        Paul Nardizzi         PPS20-0404
Kenneth Kearney        PPS20-0377        Wendy Neff            PPS20-0405
Michael Keating        PPS20-0378        Christopher New       PPS20-0091
Christopher Keilbart   PPS20-0591        Jillian Newkirk       PPS20-0406
Elizabeth A Kidd       PPS20-0379        Jeremy Nicholas       PPS20-0092
Donna Jo King          PPS20-0371        Michael Noble         PPS20-0093
Kenneth Klewicki       PPS20-0380        Michael C Nolon       PPS20-0409
George Kotsiras        PPS20-0592        Colter Norris         PPS20-0410
Wyman Kroft            PPS20-0381        Dennis Norris         PPS20-0411
Jo Ann Lane            PPS20-0382        Kody Norris           PPS20-0412
Linda Langville        PPS20-0593        Trinity Olson         PPS20-0413
Eric B Layton          PPS20-0383        Craig Palmer          PPS20-0414
Kristie Lewis          PPS20-0384        Cynthia Paris         PPS20-0415
John D Lichtenegger    PPS20-0385        Douglas W Patterson   PPS20-0416
Bert Lott              PPS20-0386        Antonio Perez         PPS20-0417
Robert Lutren          PPS20-0387        Jaron Perkins         PPS20-0418
Daniel Maglothin       PPS20-0069        Anha Pham             PPS20-0419
Matthews J Manlich     PPS20-0388        Thai Pham             PPS20-0420
Robert Manning         PPS20-0389        Bonnie Phillippi      PPS20-0597
Deborah Martin         PPS20-0072        Gregory Piazza        PPS20-0421
Michael Martin         PPS20-0073        Vincent A Piazza      PPS20-0422
Ryan Martin            PPS20-0193        Brian T Pierce        PPS20-0423
Susie Martin           PPS20-0390        Timothy Pinney        PPS20-0424
Thomas Matthews        PPS20-0391        Joshua Pitts          PPS20-0425
Casey McKee            PPS20-0076        Craig Podgurski       PPS20-0598
Michael McMahon        PPS20-0392        Rocellious Pope       PPS20-0426
Michael Meade          PPS20-0393        Nancy A Porter        PPS20-0427
Michael Meador         PPS20-0077        Andre Powell          PPS20-0428
Kenny Medlin           PPS20-0078        Benjamin Purses       PPS20-0429
Arsalan Memon          PPS20-0396        Richard Ramirez       PPS20-0430
Eric Mendenhall        PPS20-0397        Charles Reardon       PPS20-0431
Jenna Mendoza          PPS20-0398        Derek L Reddick       PPS20-0432



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                                                                             Electronically Filed - Jackson - Independence - September 22, 2020 - 04:04 PM
Angela Reed            PPS20-0433        Sonja Stone            PPS20-0118
Christopher Reed       PPS20-0434        Steven Stosur          PPS20-0465
Edward Reed            PPS20-0435        Robert T Stover        PPS20-0006
Betty G Rice           PPS20-0436        Jeanie Straessler      PPS20-0466
Karen L Rice           PPS20-0437        Chance Strawser        PPS20-0467
Cheryl Richey          PPS20-0439        David Taliaferro       PPS20-0119
Terri Richards         PPS20-0106        Ramona Rose
                                                                PPS20-0468
Debra Rios             PPS20-0440        Talvacchio
David M Roberts        PPS20-0206        Katherina M Tan        PPS20-0469
Patricia Roberts       PPS20-0207        Berhane Tassaw         PPS20-0470
Jeroy Robinson         PPS20-0441        Michael Taylor         PPS20-0120
Sammie Robinson        PPS20-0108        Courtney S. Thiemann   PPS20-0601
Adrienne Rodriguez     PPS20-0442        Robert Hayes Thomas    PPS20-0602
Gabriel Rodriguez      PPS20-0443        Walter Thomas          PPS20-0603
Mateo F Rodriguez      PPS20-0444        William Wyatt
                                                                PPS20-0604
Richard C Ross         PPS20-0445        Thomas
Melissa Ruiz           PPS20-0446        Christina Tiffany      PPS20-0471
Antonio Ruque          PPS20-0447        Stephen M Troutz       PPS20-0472
Geena Christine Rupp   PPS20-0599        Clinton Turpen         PPS20-0473
Edna Russell           PPS20-0110        Henry J Valladares
                                                                PPS20-0474
Lee H Russell          PPS20-0448        Cruz
Mark A Russell         PPS20-0449        Margarita Vasquez      PPS20-0475
John Sadler            PPS20-0450        Robert E Vick, II      PPS20-0476
Ligno Sanchez          PPS20-0451        Bradley Votaw          PPS20-0477
Virginia Saxon-Ford    PPS20-0452        Joseph T Wachowski     PPS20-0478
Greg Schermerhorn      PPS20-0453        Ambiko Wallace         PPS20-0479
Brenda Schiwitz        PPS20-0111        Vance M Warren, Sr.    PPS20-0480
Michael Schuller       PPS20-0454        Barbara West           PPS20-0481
Nathaniel Scott        PPS20-0455        Pamela K Wheetley      PPS20-0007
Grant Selvey           PPS20-0600        Jennifer White         PPS20-0482
Quratulain Shoukat     PPS20-0456        Gregory Willing        PPS20-0130
Jeremy Small           PPS20-0457        Conni Wilson           PPS20-0131
Monica Smith           PPS20-0458        Deborah A Wilson       PPS20-0484
Anthony Spada          PPS20-0459        Jerry Wilson           PPS20-0132
Melissa Spencer        PPS20-0460        Mitchell Wirth         PPS20-0485
Jamie Stallo           PPS20-0461        Debra Woodhouse        PPS20-0133
Marc A Starks          PPS20-0462        Jerry Wooten           PPS20-0487
Barbara Steil          PPS20-0463        Kimary Ann Zappia      PPS20-0606
Kelvin Stinyard        PPS20-0464
Randy Stone            PPS20-0117




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                                                                                                       Electronically Filed - Jackson - Independence - September 22, 2020 - 04:04 PM
as private process servers in the above-captioned matter. In support of said motion, Plaintiff
states that the above-named individuals are on the Court’s list of approved process servers and
the information contained in their applications and affidavits on file is current and still correct.


                                               Respectfully submitted,

                                                /s/ Adam R. Moore
                                               Adam R. Moore Mo. Bar # 52395
                                               The Moore Law Firm LLC
                                               1600 Genessee, Suite 862
                                               Kansas City, MO 64102
                                               (816) 668-6911 (telephone)
                                               (816) 817-1259 (fax)
                                               adam@moorelawkc.com

                                               ATTORNEY FOR PLAINTIFF DONALD
                                               DAVIS


            ORDER FOR APPOINTMENT OF PRIVATE PROCESS SERVER

       It is hereby ordered that Plaintiff’s Motion for Appointment of Private Process Server is
sustained and the above named individuals are hereby appointed to serve process in the above
captioned matter.

DATE:                                                  ______________________________
                                                             Judge or Circuit Clerk




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                                                                                                     Electronically Filed - Jackson - Independence - September 22, 2020 - 04:01 PM
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                         AT INDEPENDENCE, MISSOURI

DONALD DAVIS                                 )
8824 Hunter Ave.                             )
Kansas City, MO 64138                        )
                                             )
                      Plaintiff,             )
                                             )      Case No. 2016-CV-12383
v.                                           )
                                             )      Division 17
AMERICAN FAMILY INSURANCE                    )
COMPANY                                      )
Serve at:                                    )
Director                                     )
Department of Insurance                      )
301 W. High Street, Suite 530                )
Jefferson City, Missouri 65101               )
                                             )
Defendant.                                   )

                    REQUEST FOR ISSUANCE OF ALIAS SUMMONS

       COMES NOW Plaintiff Donald Davis, by and through counsel, and hereby requests that
the Clerk of the Court issue an Alias Summons to Defendant American Family Insurance
Company. Plaintiff requests service of process by Service by Process Server authorized or
appointed, who are qualified persons to serve process, are not parties and are not less than
eighteen (18) years of age, as private process servers in the above cause to serve process in this
case. Plaintiff is filing Plaintiff’s Motion for Appointment of Private Process Server
concurrently with this Request.


                                             Respectfully submitted,

                                              /s/ Adam R. Moore
                                             Adam R. Moore Mo. Bar # 52395
                                             The Moore Law Firm LLC
                                             1600 Genessee, Suite 862
                                             Kansas City, MO 64102
                                             (816) 668-6911 (telephone)
                                             (816) 817-1259 (fax)
                                             adam@moorelawkc.com

                                             ATTORNEY FOR PLAINTIFF DONALD
                                             DAVIS




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                                                                                                             2
                                                                                                  Electronically Filed - Jackson - Independence - September 22, 2020 - 03:59 PM
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                         AT INDEPENDENCE, MISSOURI

DONALD DAVIS                               )
8824 Hunter Ave.                           )
Kansas City, MO 64138                      )
                                           )
                     Plaintiff,            )
                                           )       Case No. 2016-CV-12383
v.                                         )
                                           )       Division 17
AMERICAN FAMILY INSURANCE                  )
COMPANY                                    )
                                           )
Defendant.                                 )

                                  NOTICE OF NON-SERVICE

        COMES NOW Plaintiff Donald Davis, by and through counsel, and hereby provides
notice that the Summons originally issued on May 28, 2020 has not been served on Defendant.
Plaintiff is filing a Request for Alias Summons and a Motion for Appointment of Private Process
Server concurrently with this filing to effectuate service on Defendant.


                                           Respectfully submitted,

                                            /s/ Adam R. Moore
                                           Adam R. Moore Mo. Bar # 52395
                                           The Moore Law Firm LLC
                                           1600 Genessee, Suite 862
                                           Kansas City, MO 64102
                                           (816) 668-6911 (telephone)
                                           (816) 817-1259 (fax)
                                           adam@moorelawkc.com

                                           ATTORNEY FOR PLAINTIFF DONALD
                                           DAVIS




       Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 20 of 32
Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 21 of 32
              IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                              Case Number: 2016-CV12383
 CORY LEE ATKINS
 Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
 DONALD DAVIS                                                    ADAM ROSS MOORE
                                                                 1600 GENESSEE ST STE 853
                                 vs.                             KANSAS CITY, MO 64102
 Defendant/Respondent:                                           Court Address:
 AMERICAN FAMILY INSURANCE COMPANY                               308 W Kansas
 Nature of Suit:                                                 INDEPENDENCE, MO 64050
 CC Breach of Contract                                                                                                               (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: AMERICAN FAMILY INSURANCE COMPANY
                                      Alias:
  DIRECTOR OF DEPARTMENT
  OF INSURANCE
  301 WEST HIGH DRIVE SUITE 530
  JEFFERSON CITY, MO 65101
         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                   28-MAY-2020                                _________________________________________
                                                       Date                                                    Clerk
        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
      I certify that I have served the above summons by: (check one)
          delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
            _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
            permanently resides with the Defendant/Respondent.
          (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________             _____________________________________________
                                                                           Date                                       Notary Public
      Sheriff’s Fees
      Summons                      $
      Non Est                      $
      Sheriff’s Deputy Salary
      Supplemental Surcharge       $    10.00
      Mileage                      $                    (______ miles @ $.______ per mile)
      Total                        $
      A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
      suits, see Supreme Court Rule 54.




OSCA (7/2018) SM30 (JAKSMCC) For Court Use Only: Document Id # 20-SMCC-4358 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                      Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20                                  Page 22 of 32
                                                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org → Electronic Filing Information → Required Documents for Service – eFiled cases →
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                      Circuit Court of Jackson County




            Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 23 of 32
Revised 7/3/13            Service Information - Attorney
              IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                               AT INDEPENDENCE

DONALD DAVIS,

                        PLAINTIFF(S),                                    CASE NO. 2016-CV12383
VS.                                                                      DIVISION 17

AMERICAN FAMILY INSURANCE COMPANY,

                        DEFENDANT(S).

       NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION
______________________________________________________________________________

          NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable CORY LEE ATKINS on 15-SEP-2020 in DIVISION 17 at 08:30 AM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16th Judicial
Circuit web site at www.16thcircuit.org after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.      A trial setting;
        b.      Expert Witness Disclosure Cutoff Date;
        c.      A schedule for the orderly preparation of the case for trial;
        d.      Any issues which require input or action by the Court;
        e.      The status of settlement negotiations.




2016-CV12383                                   Page 1 of 2                       DMSNCMCIVI (2/2017)
        Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 24 of 32
                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

        The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court’s web page www.16thcircuit.org for division policies and
procedural information listed by each judge.


                                              /S/ CORY LEE ATKINS
                                              CORY LEE ATKINS, Circuit Judge


                                       Certificate of Service

        This is to certify that a copy of the foregoing was electronic noticed, faxed, emailed
and/or mailed or hand delivered to the plaintiff with the delivery of the file-stamped copy of the
petition. It is further certified that a copy of the foregoing will be served with the summons on
each defendant named in this action.

Attorney for Plaintiff(s):
ADAM ROSS MOORE, 1600 GENESSEE ST STE 853, KANSAS CITY, MO 64102

Defendant(s):
AMERICAN FAMILY INSURANCE COMPANY

Dated: 28-MAY-2020                                              MARY A. MARQUEZ
                                                                Court Administrator




2016-CV12383                                 Page 2 of 2                    DMSNCMCIVI (2/2017)
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                                                                                                     Electronically Filed - Jackson - Independence - May 27, 2020 - 11:20 AM
                                                                              2016-CV12383

             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                         AT INDEPENDENCE, MISSOURI

DONALD DAVIS                                )
8824 Hunter Ave.                            )
Kansas City, MO 64138                       )
                                            )
                     Plaintiff,             )
                                            )       Case No. _____________
v.                                          )
                                            )       Division ______________
AMERICAN FAMILY INSURANCE                   )
COMPANY                                     )
Serve at:                                   )
Director                                    )
Department of Insurance                     )
301 W. High Street, Suite 530               )
Jefferson City, Missouri 65101              )
                                            )
Defendant.                                  )

                                  PETITION FOR DAMAGES


       COMES NOW Plaintiff Donald Davis, by and through his attorneys of record, and states

as follows for his causes of action against defendant American Family Insurance Company:

       1.     Plaintiff Donald Davis is and was, at all relevant times, a resident of Kansas City,

Jackson County, Missouri.

       2.     Defendant American Family Insurance Company (hereinafter "American

Family") is a corporation authorized to provide insurance in the State of Missouri. Service can

be obtained on Defendant American Family by serving the Director, Department of Insurance,

301 W. High Street, Suite 530, Jefferson City, MO 65101.

                                  JURISDICTION AND VENUE

       3.     Jurisdiction is proper in the State of Missouri because Plaintiff Donald Davis is a

resident of Missouri and American Family is a corporation licensed to provide insurance in the




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                                                                                                    Electronically Filed - Jackson - Independence - May 27, 2020 - 11:20 AM
State of Missouri and the acts and omissions forming the basis of this Petition took place in

Jackson County, Missouri.

         4.     Venue is proper in the Jackson County Circuit Court in that the acts that are the

subject of this petition took place in the area of Kansas City, Jackson County, Missouri.

         5.     Jurisdiction and venue are proper before this Court pursuant to Mo. Rev. Stat. §§

506.500 and 508.010.

                                             FACTS

         6.     On or about August 25, 2018, Plaintiff Davis was driving a 2013 Buick Lacrosse

VIN #1G4GC5E32DF268567 and was stopped on 112th St. at the intersection with Ruskinway in

Kansas City, Jackson County, Missouri.

         7.     On or about the same date and time, Harrison Wilson was driving a 2007

Chevrolet Avalanche VIN #1G4PP55K6D4160352 eastbound on Ruskinway and she made a

turn onto 112th St. in Kansas City, Jackson County, Missouri.

         8.     At said time and place, Harrison Wilson, while required to use the highest degree

of care, drove her vehicle in a careless manner.

         9.     Due to her negligence, Harrison Wilson’s vehicle crashed into Mr. Davis vehicle

while Mr. Davis was stopped at the intersection, which caused significant injury and harm to Mr.

Davis.

                                            COUNT I

          BREACH OF UNDERINSURED MOTORIST INSURANCE CONTRACT

         10.    Plaintiff Donald Davis hereby incorporates the above paragraphs as though fully

set forth herein.




                                      2
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                                                                                                   Electronically Filed - Jackson - Independence - May 27, 2020 - 11:20 AM
       11.     At the time of the accident, August 25, 2018, Donald Davis had a policy of

insurance with Defendant American Family.

       12.     Defendant American Family issued Policy Number 410143234965 to Plaintiff

Davis. This automobile insurance policy provided, inter alia, coverage for Donald Davis for

Underinsured Motorist Coverage in the amount of $100,000 each person/$300,000 each accident

on a 2013 Buick Lacrosse VIN #1G4GC5E32DF268567.

       13.     As such, the policy was in full force and effect on the date of the auto accident

referenced above.

       14.     Plaintiff was an insured under the coverage of said policy.

       15.     Plaintiff Davis met his contractual obligations by paying the policy premiums,

including payment of a separate premium for the Underinsured Motorist Coverage for the

vehicle covered in the policy.

       16.     Harrison Wilson was underinsured for negligently operating her motor vehicle

and for Mr. Davis’ damages.

       17.     Plaintiff Davis completed his claim against the at-fault driver, Harrison Wilson,

and her insurance company, Safeco, has provided the full limits of their policy to settle the

claims against Harrison Wilson.

       18.     However, Plaintiff Davis’ injuries and damages from the collision far exceed the

limits of the Safeco policy, thereby implicating his Underinsured Motorist Coverage under his

American Family policy.

       19.     All conditions precedent to the liability of Defendant American Family under

Plaintiff’s own underinsured motorist coverage policy have been met.




                                     3
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                                                                                                       Electronically Filed - Jackson - Independence - May 27, 2020 - 11:20 AM
        20.     Plaintiff is legally owed benefits from Defendant American Family under his

underinsured motorist coverage policy for his damages.

        21.     Defendant American Family has breached its contract for insurance coverage with

Plaintiff, and is legally liable for his damages in this lawsuit.

        22.     As a direct and proximate result of the negligence and carelessness of Harrison

Wilson, Plaintiff Davis was hit by the vehicle and suffered pain, suffering, severe injuries and

lost wages as a result of this collision.

        23.     As a direct and proximate result of the negligence and carelessness of Harrison

Wilson, Plaintiff Davis has incurred medical, rehabilitation, hospital, and doctor bills for medical

care and treatment.

        24.     As a direct and proximate result of the negligence and carelessness of Harrison

Wilson, Plaintiff Davis suffered lost wages as he was unable to work for a period of 23 weeks

following the collision.

        25.     As a direct and proximate result of the negligence and carelessness of Harrison

Wilson, Plaintiff Davis has sustained economic and non-economic losses now and in the future,

suffered personal injuries, has been forced to seek medical treatment, has incurred medical

expenses, will incur such expenses in the future, has lost wages/income and business

opportunities, and has experienced past and ongoing pain and suffering, mental anguish,

emotional distress and the loss of enjoyment of life.

        26.     Damages sustained by Plaintiff Davis, as described above, are in excess of the

insurance policy limits of Harrison Wilson.

        27.     Because Defendant American Family has refused to pay Mr. Davis’ actual

damages, it has not met its contractual obligation and has breached the contract.




                                     4
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                                                                                                      Electronically Filed - Jackson - Independence - May 27, 2020 - 11:20 AM
         28.    This refusal to pay has created a significant financial burden on Plaintiffs Davis

resulting in additional damages.

         WHEREFORE, Plaintiff Donald Davis respectfully requests this Court to enter judgment

against Defendant American Family for actual damages in an amount that is fair and reasonable

for their costs and expenses incurred herein, and for such other relief as the court deems just and

necessary.

                                           COUNT II

                VEXATIOUS REFUSAL TO PAY BY AMERICAN FAMILY

         29.    Plaintiff Donald Davis hereby incorporates the above paragraphs as though fully

set forth herein.

         30.    Defendant American Family issued Policy Number 410143234965 to Plaintiff

Davis.

         31.    The Policy was in effect on August 25, 2018 at the time of the automobile

collision which forms the subject matter of Plaintiff Davis’ claim.

         32.    Plaintiff Davis provided Defendant American Family with evidence of his injuries

and damages well in excess of $100,000 and requested Defendant American Family to uphold its

obligation and to cover the uncompensated damages under the underinsured motorist

endorsements in the American Family policy owed under Policy Number 410143234965.

         33.    Defendant American Family has failed to compensate Mr. Davis for his clearly

documented economic and non-economic damages from his injuries. American Family has had

sufficient time and has been provided with sufficient information to evaluate Mr. Davis’ claim.

Instead of honoring its contractual obligations, Defendant American Family has grossly and

unreasonably undervalued Mr. Davis’ damages without any valid reason.




                                      5
         Case 4:20-cv-00853-FJG Document 2-1 Filed 10/23/20 Page 30 of 32
                                                                                                      Electronically Filed - Jackson - Independence - May 27, 2020 - 11:20 AM
       34.     Defendant American Family’s response to Plaintiff Davis’ demand for payment

under the Policy failed to recognize the severity of Plaintiff Davis’ injuries and his pain and

suffering, mental anguish, emotional distress and lost wages from those injuries.

       35.     Defendant American Family refused to pay the demand submitted by Plaintiff

Davis under Policy Number 410143234965 and responded with a minimal offer that was not

reasonable based on the severity of Mr. Davis’ economic and non-economic damages.

       36.     The refusal was without reasonable cause or excuse as the facts would appear to a

reasonable and prudent person in violation of Missouri Statutes § 375.296 and § 375.420.

       37.     After Defendant American Family refused the initial demand to honor its

obligation to compensate Mr. Davis for his damages, Mr. Davis sent a letter to Defendant

American Family on April 17, 2020 again demanding that Defendant American Family honor its

obligations, properly evaluate his claim and compensate him for his injuries.

       38.     Defendant American Family failed to ever respond to this request.

       39.     As a direct and proximate result of Defendant American Family’s vexatious

refusal to pay, Plaintiff Davis has suffered damages in excess of the $100,000 limits of Policy

Number 410143234965.

       40.     Plaintiff Davis is entitled to payment of his actual damages, including damages in

excess of the limits of Policy Number 410143234965, as well as statutory damages and

attorney’s fees pursuant to § 375.296 and § 375.420 RSMo.

       WHEREFORE, Plaintiff Donald Davis requests this Court enter judgment against

Defendant American Family Insurance Company and award damages, in excess of the limits of

Policy Number 410143234965, and statutory penalties not to exceed twenty percent of the first

fifteen hundred dollars of the loss, and ten percent of the amount of the loss in excess of fifteen




                                     6
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                                                                                                   Electronically Filed - Jackson - Independence - May 27, 2020 - 11:20 AM
hundred dollars for Defendant’s vexatious refusal to pay, and reasonable attorney’s fee pursuant

to § 375.296 and § 375.420 RSMo.



PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.



                                            Respectfully submitted,

                                             /s/ Adam R. Moore
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                                            The Moore Law Firm LLC
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